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                  EXHIBIT 1
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1                     UN     D STATES DISTRICT COURT

2           WESTERN DISTRICT OF WASHINGTON AT SEATTLE

3

4

5 BRENDAN DUNN, JACOB ERWIN, and
     RYAN TOMPKINS,
6
                           la nti fs,
7
                                                     No. C08 0978 JLR
 8 vs.
 9
     MATTHEW HYRA, et al.,
10
                           Defendants.
11

12

13

14                DEPOSITION UPON ORAL EXAMINATION

15                                       OF

16                         DETECTIVE MATTHEW HYRA

17

18

19                             10:00 a.m.
                              July 13, 2009
20                     601 Union Street, Suite 3100
                           Seattle, Washington
21

22
                          CARRIE L. PUMNEA, CCR
23                      NORTHWEST COURT REPORTERS
                      1415 Second Avenue, Suite 1107
24                      Seattle, Washington 98101
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25               www.northwestcourtreporters.com




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1 boundaries were basically that of the East Precinct. We

2 traveled wherever it was that we were needed.

3       Q.       Okay. You said you maintained that assignment,
4 or at least the East Precinct bike squad, until September

5 of 107.
6                No, I take that back. You said that in between

 7 you requested to return to patrol.

 8      A.       i did.

 9      Q.       Why did you make that request?

10      A.       Much of the decision was based off of this

11 particular incident that we i re talking about.

12       Q.      How do you mean?

13       A.      The protest.

14       Q.      No, I understand. How do you mean much of the

15 decision was based on that?
16       A.       If there were two or three times on the job

17 where I was actually in fear for my life, that was one of
18 them.
19       Q.       Okay. So you requested a return back to patrol?
20       A.       I did.

21       Q.       We ' 1 1 corne back to that.

22                Were there other times you were in fear for your

23 life while you were assigned to the East Precinct bicycle

24 squad?
25       A.       One other time I can recall.




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1       A.      Not during my interaction with it.

2       Q.      And you approached them, correct? You initiated

3 the contact?
4       A.      That is correct.

5               MS. CARR: Obj ect to the form. Vague.

6       Q.      What was your assignment on that day, October

75th, 2006?
 8 A. I was assigned to the bike squad to monitor the
 9 protest to make sure that everything was in control, no

10 violence broke out and that the protest could proceed.
11      Q.      Who was your immediate supervisor?

12      A.      Sergeant Ann Martin.
13      Q.      And she was on scene, correct?

14      A.      She was.

15              MS. CARR: Obj ect to the form. Vague as to time

16 frame.
17      Q.      Before you approached the plaintiffs and the

18 group that they were among, what was her position

19 physically, geographically?

20 MS. CARR: Sorry, could you please just read the
21 question back for me.
22 (Court reporter read back last question.)
23               MS. CARR: Object to the form. Calls for

24 speculation. Foundation.
25 Q. To your knowledge - we 1 l, in your report you




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1              MS. CARR: Object to the form. Foundation.

2       Q.     To your knowledge.

3       A.      Lieutenant Hayes' location was somewhere in the

4 park, but I don i t know precisely where he was. My

5 conversation with him took place via phone.

6       Q.      When did that take place?

7       A.      immediate      after speaking with Sergeant Martin.

 8      Q.      So the three of you did not have the

 9 conversation together?
10      A.      We did not.

11      Q.      what was the nature of your conversation with

12 Sergeant Martin?
13      A.      My recollection is that i was approached by Kay

14 Rood, who expressed concern over a group proclaiming to be

15 anarchists that were going to engage in criminal acti vi ty
16 during the demonstration, and i brought that information
17 up to Sergeant Martin.
18       Q.     Did Ms. Rood approach you, did you approach her?

19       A.      i believe it was Kay Rood who approached me as i

20 was standing on the side of the park.
21       Q.      Okay. Do you know of any reason she approached
22 you in particular?
23 A. Ms. Rood and i have had a professional
24 relationship for approximately two, two and a half years

25 prior to that.




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1 march downtown from Cal Anderson Park independently of the

2 main demonstration?
3                MS. CARR: Sorry, could you read the question
4 back.
5 (Court reporter read back last question.)
6       A.       Not to my knowledge. I don i t know what happened

 7   as far as the demonstration goes.

 8       Q. Do you have any specific knowledge as to what

 9   the individuals who you contacted intended to do?

10               MS. CARR: Obj ect to the form. Vague.

11       A. I'm not sure that I necessarily understand the
12   question.
13       Q.      Do you have any specific knowledge as to what

14 the group of people who you approached, including the

15 plaintiffs, actually intended to do during this

16 demonstration?
17        A.     My intent was to gather that information by

18 initiating a social contact with them; however, I was

19 unable to ascertain that due to the fact that they
20 surrounded and assaulted me.

21 Q. You initiated the contact by taking their flag,
22 didn i t you?
23 A. I initiated the contact by touching Mr. Erwin's
24 shoulder and taking a metal pole out of his grasp.
25 Q. Metal pole that was attached to a flag?



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1 vague question and a vague response?

2 Q. Now, I'm going to go back to the same question
3 that I've been trying to get an answer to for the last 20

4 minutes.
5 What reason, if any, do you have to believe that
6 Mr. Erwin would want to have a social contact with you

7 when the first contact he has with you is you corning

8 around from over his shoulder and taking his flag and

9 flagpole away? What reason do you have, based on your

10 training and experience, to believe that he would want to

11 have a friendly conversation with you after that?
12 MS. CARR: Object to the form. Compound. Calls
13 for speculation. Lack of foundation.
14 Q. You may answer the question.
15           MS. CARR: Argumentative.
16 A. I have conducted, I can safely say, thousands of
17 social contacts, and in the course of conducting those

18 social contacts I have removed golf clubs from people's

19 possessions, baseball bats from people's possession, an
20 open knife from people's possession, and still were able
21 to maintain a civil conversation with the individuals I

22 was contacting.
23 In the case of Mr. Erwin, I looked at the pole
24 as being a potential officer safety hazard. And in the
25 same context as I've contacted literally thousands of




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1 as being potentially hostile or violent during protests?

2 A. Nothing comes to mind at this particular moment.
3 MS. CARR: Really? I mean, I was thinking all
4 sorts of stuff. That has nothing to do with it. Just
5 stay with whatever your answer is.

6 A. I mean, there's been other groups that have been
7 involved in violence during protests, but specifically

8 what they're affiliated with. . .
 9 Q. SO you know of an individual who told you that
10 seven years prior she had had a bad experience with

11 anarchists at a demonstration, tell you that she had read

12 a posting that said that anarchists might do many fun

13 things?
14             MS. CARR: Obj ect to the form, if that's a

15 question.
16      A.     The whole basis of this is that Kay Rood carne up

17 to me and informed me that she had obtained information

18 that a group of anarchists might engage in some type of

19 violent or disruptive behavior that could jeopardize

20 personal safety or property damage.

21 Now, based off of what she said, that was the
22 information I had at the time, and based off of what she
23 said, I informed the incident commander and my supervisor,

24 and so we looked for individuals who matched the

25 description that Kay Rood had given me.




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1       Q.      And you think it may have been given to Sergeant

2 Martin by Ms. Rood herself, or do you think you gave it to

3 Sergeant Martin?
4       A.      I'm certain I spoke to Sergeant Martin.

5       Q.      You're not certain as to whether or not Ms. Rood

6 was there?
7       A.      Ms. Rood was adj acent, and I know at some point

8 in time they were introduced to each other.

9 Q. Okay. But you don't know the nature of any of
10 the conversation they had, or do you?

11 A. No, not intimately.
12 Q. How about generally?
13 A. It may have been just a situation where they met
14 each other and exchanged names and possibly some

15 information.
16      Q.      Did Sergeant Martin give you any instructions or

17 advice about how to proceed?

18 A. Both Sergeant Martin and Lieutenant Hayes during
19 those conversations, during that time, and I believe it
20 was Lieutenant Hayes who - he was the incident commander,

21 he made the determination that based off the information
22 that Kay Rood had given, right, that we, if we could,

23 identify any groups that were potentially associated with

24 the anarchists, that it would do - to have a social
25 contact to identify them, say, "Hey, do you guys know of




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1 anything that's going on, do you guys have any plans of

2 doing anything," and see if we could obtain more

3 information that way. And sometimes just initiating the

4 social contact, as I had stated before, is enough to deter

5 criminal behavior.
6 And based off of what Kay Rood said, stipulating
7 that she believed anarchists were involved with that,

8 that i s why we went through the crowd trying to see whether

9 or not we could find anybody associated with that

10 particular group. It had nothing to do with political

11 affiliation, it had everything to do with the potential

12 for violence based off the information that Ms. Rood had

13 given us.
14      Q.     Except that group is identified specifically and

15 only based on political views and affiliation, right?
16 A. Based off of political views and - - the contact
17 was associated, based on my training and experience, that
18 they were in possession of a flag that identified them as
19 anarchists. Based off the information that Kay Rood had

2 0 given me, stipulating that anarchists could potentially be

21 involved in violence at the protest, that's why they were

22 contacted.
23 If Kay Rood had said a group of people wearing
24 Minnie Mouse hats were in the protest and they were
25 planning on engaging in disruptive or violent behavior, I




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1       A.      Pursuant to our discussions, yeah.

2 Q. Did they give you any cautions about making the
3 contact with individuals you perceived to be anarchists?

4       A.      The same caution as usual, be safe.

5 Q. Whose idea was that if they had flags you should
6 take the flag - - if they had flags on poles that you

7 should take the flags away?

8 MS. CARR: Object to the form. Assumes facts.
9       Q.       Where did that idea come from?

10 A. i did not take the flag as I took the pole,
11 which was presenting an officer safety hazard. Had the
12 flag been on the ground or away from that particular area,

13 I would not have taken the flag. i would not have touched

14 it, unless it was attached to a weapon that could be used

15 against me.
16 Q. What would have happened in your judgment --
17 well, okay.
18 First of all, what reason do you have to believe
19 that Mr. Erwin had any intention of using that flag and

20 pole as a weapon against you?
21       A.      Pursuant to my conversation with Ms. Rood, who

22 informed me that she had corne by information stipulating
23 that a group of people associated with anarchists were

24 planning on engaging in some type of violent or
25 destructi ve behavior. That was the information I had




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1 report I think some other individuals are named.

2 But, Mr. Hildes, I was being assailed from the
3 rear, from the front, and from both sides, and someone was

4 trying to get my sidearm out of its holster. I did not

5 take the time to accurately visually identify every person

6 that was assailing me.
7 Q. Did you see this person who was supposedly
8 trying to take your sidearm?

 9 A. My head was down at the time and I was getting
10 punched to the right side of my head as somebody was

11 trying to lift my weapon out of my holster.

12      Q.    So in other words, no, you never saw this

13 person?
14      A.    That's correct.
15      Q.    what did you do when someone supposedly tried to

16 lift your gun out of its holster?

17      A.    Had I been able to put my hand on the but t of my

18 weapon, that is what I would have done. I was unable to
19 do that.
20       Q.   What's your training as to what you're supposed

21 to do if somebody tries to take your weapon?

22       A.   If you're able to put your hand on the butt of

23 the weapon and to create distance from the person who is

24 attempting to remove the weapon from its holster.
25       Q.   Anything else?




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1       A.      No.

2 Q. And that only changed after you took the flag
3 and flagpole, correct, and then they got upset, according

4 to you?
5               MS. CARR: Obj ect to the form. Vague.

6       Q.      You may answer the question.

7 MS. CARR: I might wi thdraw it, if you can read
 8 me the question back.

 9               MR. HILDES: Go ahead.
10               MS. CARR: I'm sorry. I don't want to make an

11 improper objection, I just may have misheard it.

12 (Court reporter read back last question.)
13 MS. CARR: Same objection.
14      A.       Seconds after I attempted to initiate the social

15 contact with Mr. Erwin, I was pelted with expletives,
16 surrounded, yelled at, even though I told them I had every
17 intention of giving them the flag and the flagpole. I
18 told them, and I never got to a position where I was able

19 to do that because of the threat of my own personal

20 safety.
21       Q.      Do you know of any reason they would have to

22 believe you that after you took the flag and flagpole that
23 you intended to give it back?
24               MS. CARR: Object to the form. Calls for

25 speculation.




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1       Q.      Okay. How long was it?
2       A.      I can't recall.

3       Q.      How long did it bleed?

4       A.      I think the bleeding stopped by the time I got

5    to the precinct.
6        Q.     How did you     cut   your hand?

7        A.      I don't   recall     how   it   got cut.
 8       Q.     Do you     have any reason to believe          that      Mr. Dunn

 9   cut your hand?
10       A.      Mr. Dunn was hanging off of my back during the

11 incident, so I don't see how he could have reached across

12 and gotten ahold of my left hand.
13       Q.      How do you know that Mr. Dunn was hanging off of

14 your back? Did you ever see him?
15       A.      I was informed that - I believe it was Officer

16 Skommesa who had removed Subject Dunn from my back, if I

17 recall correctly. I can refer to my report.

18       Q.      But you have no personal knowledge? You only
19 know that from Officer Skommesa telling you that?

20       A.      I don't have the ability to look behind me.

21       Q.      But you know someone was back there?

22       A.      Somebody was.
23        Q.     Did you ever see Mr. Dunn prior to his being

24 taken to the precinct?
25        A.     I saw him in the park as he was being arrested,




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1               MR. HILDES: No. You're correct. Thank you.

2       Q.      In any of those reports, do you see anywhere

3 where you mentioned Tompkins kicking your bicycle, or

4 anything else for that matter?

5 A. The word I used in my report is that he
6 intentionally walked into my bike. He blocked my path
 7 from walking my bike.

 8      Q.      Walking is different from kicking, isn't it?

 9      A.       I would agree with that statement.

10      Q.       Okay. So you have - let's go back to where we

11 were.
12               You have - so Mr. Erwin is to your right, you

13 have the f lag and pole, you're walking, he's walking with
14 you. At that moment, where is Mr. Tompkins?

15 A. At that particular moment, Mr. Tompkins is in
16 front of me.
17      Q.       How far?

18 A. No more than 12 inches away from the front of my
19 bike, I think, at any given time.

20       Q.      Was he stationary or moving?

21 A. He would move until I carne up to him where I had
22 to stop and I couldn't proceed any further, so - and then

23 I would ask him to move again. I think I say it in my
24 report that I talked to him three times to stop blocking

25 my path or i'll be forced to put him into custody for --




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1 if you block my path or strike - stop obstructing me no

2 less than three times, stating move out of my way, if you

3 block my path or strike me on my bike, I will place you

4 under arrest for obstructing. After the third such order,

5 Mr. Tompkins intentionally walked into my bike, striking

6 it with his legs and failed to move.

 7 Q. SO you didn't strike his legs with your bike, he
 8 struck your bike with his legs? Is that your testimony

 9 under oath?
10           MS. CARR: Obj ect to the form. One,

11 argumentative; two, testimony speaks for itself.
12      Q.   That's your testimony?

13      A.   He walked directly into my bike, yes.

14      Q.   What was he doing with his hands during this

15 period?
16      A.   I believe he had a camera in them.

17      Q.   So he was taking pictures of you.

18           MS. CARR: Obj ect to the form, if that's a

19 question. Calls for speculation.
20 Q. Is that correct?
21 A. You would have to ask Mr. Tompkins.
22 Q. Did he appear to be taking pictures?
23 A. He appeared that way, yes.
24 Q. And then backed up and took another picture; is
25 that correct?



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1        A.      I'm not sure how many times he backed up and

2    stopped.
3        Q. Was he directly in front of you or to the side?
4        A. He was directly in front of me, impeding my

5    abili ty to escape a mob that had surrounded me.

 6       Q. What was this mob doing at the point where
 7   Mr. Tompkins appears to be taking pictures of you from in

 8   front of you?

 9       A. What Mr. Tompkins was doing was blocking my

10   path, and what the individuals around me were doing were

11   yelling and screaming at the top of their lungs and they

12   were beginning to put black bandannas on their face and

13 scarves on their face, which I took to be a sign that an
14 imminent assault on my person was going to take place and

15 they were using the scarves to conceal their identity.
16 Q. Is that consistent with your training?
17                MS. CARR: Object to the form. Vague.

18       A.       It's obj ecti ve with my experience in law
19 enforcement that people who are about to commit a crime

20 and want to conceal their identity will cover their faces.
21        Q.      Have you been at other demonstrations where

22 groups of people covered their faces with bandannas and

23 then assaulted officers?
24 A. I have been in demonstrations where groups of
25 individuals have covered their faces and thrown




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 1 you'd give the witness a little bit more time to review

2 the documents before moving on to a question about what

3 the documents mayor may not say. I'd ask that you would
4 do that so that the officer has the opportunity to review

 5 before answering.
 6             MR. HILDES: Feel free.
 7 MS. CARR: I don't mean al 1 of them right now in
 8 the forecast of what you might be asking in the future. I

 9 mean, when you ask him a specific question about what a

10 report does or does not say, if you could allow him the
11 opportunity to review the report at that time to respond,
12 that may be our best attempt to get this done in a clean

13 and concise manner.

14             MR. HILDES: Fair enough.
15      Q.     So you were attempting to leave the park with

16 the flag?
17 A. After telling Mr. Erwin repeatedly that once I
18 got to a safe location I would return it to him, I wasn't
19 going to give it to him at that particular time because I

20 wasn't able to go forward, I couldn't go left, I couldn't
21 go right, I was completely surrounded. By giving him a

22 pole, I might as well have been giving him something to

23 stab or strike him with.
24      Q.     Mr. Erwin never stabbed or struck you with

25 anything, including his own hands, did he?




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 1      A.   I pursued Mr. Tompkins, correct.

 2 Q. Through a crowd of people who were so close that
 3 they were touching you, by your previous testimony, and

 4 that their numbers and location held your bicycle up. How

 5 did you do that?
 6 MS. CARR: Obj ect to the form. Argumenti ve.
 7 Q. How did you get them out of your way?
 8 A. I followed Mr. Tompkins. Mr. Tompkins had kind
 9 of cut a path through the crowd, which I then pursued him

10 through, and grabbed ahold of him. Mr. Tompkins did not
11 get farther than a few feet.
12      Q.   How few?
13      A.   To be safe, I'll estimate six feet.

14      Q.   So you've got from two to an estimated SlX feet

15 cutting a path through the crowd.

16 MS. CARR: Object to the form.
17      Q.   Is that accurate?

18           MS. CARR: Object to the form. Argumentative.

19 Mischaracterizes testimony.
20      A.   As far as I can be accurate based on the time

21 between the incident and today, that's as close of an
22 estimate I'm going to get. Maybe two to six feet.

23 Q. How did Mr. Tompkins cut a path two to six feet
24 through the crowd?
25           MS. CARR: Obj ect to the form.




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 1 attempting to wrench it out of my hand and by doing so had

 2 bent the pole.
 3 So by the time this whole thing was over and
 4 done with, because I never released the pole because I

 5 felt certain if the pole had been taken away from my grasp

 6 that it was going to be used against me either in a

 7 stabbing or striking fashion, at the end of that, after
 8 everything had settled down and I was more or less rescued

 9 by backing officers, the pole was quite twisted. It was

10 quite twisted and bent.
11 Q. SO clearly it wasn't so strong that several
12 people pulling on it couldn't severely twist it and bend
13 it, right?
14           MS. CARR: Obj ect to the form.

15 A. It was strong enough not to break but still
16 presented a clear safety hazard.
17 Q. SO you're holding onto the pole, which is being
18 tugged so severely it severely twisted and bent with the
19 same hand, in the other hand you're holding onto
20 Mr. Tompkins, people are supposedly holding onto you,

21 they're holding onto him. How did you do that? How is it
22 physically possible to have maintained control over

23 Mr. Tompkins while all this is happening?

24 MS. CARR: Object to the form.
25 A. i will say this: The fact that I did not get



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              ! \-1 Ilyra óó20                                                                                                             rOB
                                 Un the dale of 10.05.1)6 al 1)00 hrs I was wurking in uniform wil/i my pal1ner, ortccr Bale. assigned 10 bike
                                 pairol unil Jcsignati:d ~(j82. Ai ihal tiinè I was assigned us a bike pairol unil monitoring a large crowd at Cal
                                 ¡\ndersun Park ass\lciatcd \\it/i Ihe W(irld ('an't Waii and ih~ Revolutionary Communist Pany anti-war
                                 Il11VCircnl. \1y unkrs guvcrning ihis ewnt were to cnsurc evenl SI¡lbili/.aliol1 and ihat lire safdy jssu~s were
                                 ildùre~'cd. as needed. I was working wiih my partner, ()f/ccr Bale.

                                 r )uring thi.' cvent. I was informed thai a group ur Anarchists were planning 10 inlitrate the crowd, brake into a
                                   inter group and disrupi the rally, "his inforinatÎon came by way of C¡Rood. a member of the board of Ihe
                                ..pI

                                hicnds or ('al Anderson I'ark who was concL'rncd that the group might incite violence. S/Roud staled ihat she
                                had come by ihis inlimnaiíon hy way of a posiing on the Internet. a common media used by Anarchists. In
                                addition, ltRood ¡¡tuled ihal she undCrSI()od the Anarchisis woiiid rally like-minded individuals by a signaling
                               ¡hem by way ofbliick /lags associatcd with anarchists. i. through iraining and expcrience, am well versed with
                               'iuch nags as wcll as ihe Anarchist movement and their behavior in such gatherings as ii relates to violence. J
                               have personally confacled members of ihis tigani¡r.atÎon during previous protests and have a thorough
                              iinderstanding or ih~ir operaiions. methods or communication and their history of violence and property
                              destruct ion. It is also my e.l(perience ihat such /lags are used for signaling criminal activity, such as propert
                              Jestniction or group movement 10 block freeways, as well as weapons as most /lags are secured to metal pipes
                              or heavy woodcn dowels. Additionally, information relating to /lag use and Anarchists has regularly be
                              disseminated during briefing prior to protests in which Anarchists arc expected. I informed my supervisor, Sgt.
                              Mal1in. of Ihe information i had received as well as Li. lIayes, the incident commander. During this
                              conversaiion it was determined that suspected Anarchist groups would be contacted and, if in possession of                                      \Q
                              such flags, investigation would commence to determine the nags intended use. The purpose of such
                              investigalions wuuld be ceniercd on lilè salciy issues and II) ensure incident stabilLiHion ofihe event.
                                                                                                                                                                              S
                                                                                                                                                                              ¡;
                             A few minules later I happened across a group of approximately 15 10 20 subjects in ihe middle of Cal                                            ~
                             Anderson Park. A subjeci. later identified as S/Erwin, was in possession of an Anarchist nag displaying the
                             colors of black and red. i have seen the exact nag pal1ern in the past and know, from experience, that
                            Anarchists use ihis typc oftlag. In addition. i noted that several ortne subjects with S/Erwin were in possession
                            iifAnarchist Ilycrs. each displaying a large' A', the symbol of Ihe organization. i contacted S/Erwin and, as the
                            /lug was aiiuched to a metal pole and presented an offcer safety hazard due 10 the fact that ii could be used as a
                           weapon. I removed the pole from his possession. It is a common practice to secure obvious weapons or tools
                           ihat could be iised us such during lield contacts. I thi'n al1clipted 10 spcak S/Erwin.about the flag, separate from
                           ihe group. Durin¡t this conversation, SlErwin 'ilated ihat the l1ag 'was nol his', i then inquired as 10 who owned
                           ihe flag. No one in ihe group initially answered, but some later slated it belonged to a subject who was not
                           present II ihe group. Other subjects. nol prescnt during my initial observations of S/Erwin. then claimed the
                           /lag as theirs. S/Erwin then stated ihat he wanli:d ihe Ilag back. I iold him ihat I would return the flag to him,
                          but I needed to speak with him with regard to the flag and his intentions on its use. As I was speaking to
                          S/Erwin. approximaiely 15 to 20 subjects, all yellng at me. and my partner Offcer Bale, rapidly surrounded
                          IlC wiih ihe c10scst being within three feet of me. As the situation rapidly deteriorated. several of the group



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                SEATTLE                                                                                                   (/6.4 ~:! 06:!
                POLICE                                                                                     IINII III f NliMlI1 R
                DEPARTMENT                              STATEMENT                 FORM

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STATEMiNlOF                COMPlAINANT WITNESS          VICTIM OffiCER OTHER
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  M llyra 6620                                                                                             rOB

                acknowledged that thcy wcre 'Anarchists' and dcmanded to have me return the \lag 10 S/Erwin. as well as
                identitY myself. I verbally identified myself, by name and serial number. and siated. plainly. ihat I had every
                intention of returning the nag to S/Erwin. but would not address the group as a whole. This decísion was due to
                the ever increasing threai to my safety as the group was adopiing a 'mob' mcniality. The crowd subsequenily
                grew more hostile as well as grew in numbers. i ihen decided to depart the area. as my safety was a great
                concern. but stil told S/Erwin thai I would return the nag to him. i was unable 10 mount my bicycle, as ihe
                group was in physical contact with me, and began to walk cast.

                As i was anempting to leave the park 10 the east, the nearest route out of the park, the group followed and
                sevcral subjects approached me in a ihreatening manner. One subjcct. later identified as Srrompkins. was
                actively blocking my path, I was unable to lurn either left or right as i was completely surrounded. J told
                SfTompkins to stop obstructing me no less than three times. clearly stating 'move out of my way. If you block
                my paih or strike me or my bike, I wil place you under arest for obstructing'. After ihe third order,
                SfTompkins intentionally walked into my bike, striking it with his legs, while calling me 'asshole'. At this
                point the crowd became even more hostile and gathered in closer while donning black scarves and ski masks to
                conceal their identity. i recognized this behavior, from training and experience. as a precursor to criminal
                activity. I then instructed Srrompkins he was under arrest for Obstructing and anempted 10 place him into
                custody.                                                                                                                               l'
                As i anempted to place SlTompkins into custody, Srrompkins ran back from me. I ihen pursued Srrompkins
                                                                                                                                                       -i;
                                                                                                                                                       Q

                and was able to iake control of his right and left arms. SfTompkins actively anempted to pull away from me                             ~
                and i was quickly surrounded by other members of the Anarchist group, several with ski masks or scarves                                Q
                concealing their faces. During this stage of the event. J had several people anempting to pull me ofT of
                SfTompkins as well as several people attempting to pull Sflompkins from my grasp: one of these subjects was
                identified as S/Erwin, i had one subject, later idenlified as S/Dunn. grab me from ihe rear and attempt to place
                his arm around my neck as well as push me and attempt to pull me off SlTompkins. i also had several people
                artempt to pull the metal nag pole from my grasp. which I feared would be used against me as a weapon.
                Additionally, subjects were anempting LO remove my hand gun from its holster. This struggle continued with
                Sflompkins actively resisting and me sustaining several assaults from various individuals until back up arrived.
                During this stage of the event over 40 subjects surrounded me. and Offcer Bale, and I believed, sincerely. that
                I was in grave danger. Once other Offcers arrived, being Offcers Skommesa, Greeley. Avery. Roberson and
                Sgt. Mal1in, I was able to place SfTompkins into custody. Offcer Skommesa took S/Dunn. who had assaulted
                me from ihe rear, into custody. Offcer Roberson took SÆrwin. who had actively anempied to pull SfTompkins
                from my grasp, into custody. Several other suspects, whom I know to have struck me or anempted to remove
                my weapon, ned into the crowd to evade police contact. Pursuit of these subjects could not be initiated due to
                the number of hostile subjects present and the size of the crowd.

                I sustained a laceration to my left hand and pain to my left Achilles heel as a result of struggle.


WITNESS


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      r.,lAnMfHI.,. COMPLAINANT WITNfSS VICTIM OFFICER                                               OTHfR


      L~_~~ra 6620 I       i arranged transport for all ihrcc suspcclS 10 the Easl Precini.t and lurned the /lag in question over to Offcer
                          Bale liir ~\'idc:l1cc processing. Once I arrived al ihe East Precinct I made an Internet inquiry wiih regard 10 Ihe
                          Jlo"iiing ClRood had infonncd me ahout. I liiund it compatible ilnd in line with what ClRood had reft"rcnced.
                           l1ie posiing also made rcli:n:ncc 10 Ihe WTO riois, an l:vcnl in which the Anarch

                          iii~iigaiurs uf viulence ¡Ild properly i.cstriciion. I prinlcd a copy uf ihis pO'ilingisis
                                                                                                                 and figured prominently
                                                                                                                       included           as
                                                                                                                                it wiih ihe,
                          r IlC iJeiil Report.

                          I ihen met with each sUspect and issiwd i:al:l their Miranda ad\ iscmi:ni fwm ihc h¡id of my SPD issued M IR
                         can.J SlTompkins mid S/Erwin slated ihai they III1h.rslood iheir rig.his as I had read Ihem by saying 'yes' when
                         asked. SlIunn did 1101 vernally respond, buliiouùcd his heiuJ in thc aniriialive.

                         During post Miranda qucsiioning, Srrompkins readily admilted thai he was associated with Anarchists and that
                        rhe llag was an Anarchist flag. I then fully explained 10 S/Tompkins why hc was in custody, specifically noting
                        that I had every il1tCl1lioll 1,1' n:iurning the /lag to S/Erwin, and asked him why he had struck my bike.
                        SlIlimpkilis ~Ialcd thilt I "ran into' him and iiiso uçknowledgcu ihat I had, in fàct, slated that I would return the
                        lliig. I then inquired as 10 why he lelt the nced 10 escalate matters into an arrest siiuation. Srroinpkins did not
                       reply. i then informed him ihat during Ihe struggle someone had attempted to remove my sidearm and
                       cmphasi/.ed the unpleasant possibilitics of whai might have ensued had that occurred. Sn'ompkins replied by
                       ..aying 'Oh. dude. lhai is luckcd up' ci words to thai eirect. Iihim informed Sn'ompkins about ihe wcb posting
                       i had discovered pursuant to my conversaiion with C/Rood. Srrompkins acknowledge that he was aware of the
                       posting, but stated that hc did not write it                                                                                                   QO


                     During post Miranda questioning of S/Erwin, S/Erwin initially denied any knowledge or membership to ihe                                          ..Q
                     Anarchists, but later acknowledged that he did ideniify himself as one. S/Erwin stated that J 'did not know                                      r.
                     anyihing' about Ihe Anarchist movement or what they stood for. During subsequent questioning, S/Erwin                                            i;
                                                                                                                                                                      Q
                     provided some details of Ihe Anarchist movement but would nol respond to questions relating as 10 why ihe
                     group had n:spondcd so violenily. S/Erwin also made a comment akin 10 . rhe FBI says ihe Anarchist flag is
                     OK "

                    f completed the Ineideni f~epol1, ihe Cerlilìcalion lor Dctcrininalion of Probable Cause, required paperwork.
                    and arranged lor the suspecis to be Iransported to KCJ. Iihen compleied this statemeni.


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I M Ilyra ó620
i                                                            lhis is a Supplemenial Statement Regarding SIN 06-422062
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                  ()o the daie of i 0.05-06 at approximately i 300 hrs I was working in uniform, with my pal1ner. Otfccr Bale, while assigned
     to roiitine hike patrol unit 2C;82. At this time I was involved in a struggle as previously documented. During this struggle I was
     attl:llpting to pluee SiTompkins inio custody for Obstructing and Rcsisting Arrest and was being assailed by numcrous subjects.
     iucntilitd as Amirchists. who \Vert: :issociated with S/Tompkins. As I was attempting to stay on my feet and reia;n control of
     S/Tollpkins. I rdt subjects attempt to remove my handgun from its holster, had sevcral people on both my lell and my right attempt
     to pull me orf or Srrompkins, as well as a group of subjects aiicmpting to remove a metal pole from my hands. I believed that ir ih;s
     pole wen: removed from my control. ii would have been emploYl.d as a we;ipon ag;:inst me. I was also being assauhcd from !he rL'ar
     and subjel:s were ¡lllenipi;ng to place their hands and arms into the arca of my neck. i was completely surrounded and isolated from
     \)(licr Ollicers at the scene.

           I was a\\larc ihat I was in grave danger of sustaining great bodily harm by ¡he mob of Anarchisls that had surrounded me. Aside
     from mak ing great erforts to pn:venl myself from being knocked to ¡he ground, a position of great disadvantage, I also realized that
     subjects to my rear had access to my neck. i received several contacts and strikes to my head and neck during the event, and
     believed. due to these contacls. ihat members of    the mob thai had surrounded me may be attempting to place an arm around my
     neck. I'u prevellt this. i moved as close 10 Sn'ompkins as possible. while tucking my head down 10 my chest and blocking anacks to
     this area by use of my bike hLlmet, which. as fortune pad it. was still attached to my head. i know. from training and experience, that
     neck holds. also termed chokcholds or neck restraints, are cxtremely dangerous. I understood that if a subject were able to firmly
     place his or her arm aboul my neck and applied pressure to my airway. I would be at a great tactical disadvantage and, in all
     likelihood. would lose what                   little position i had. I would have then had to resol1 to a dedkated focus on defeilting this type ofanack.
    'leaving all other ddensive measures I was currently employing unanended, thus al the mercy of
                                                                                                          the violent mob that surrounded me.
     lt is also important to note that types of chokeholds, or neck restraints, are identified as Deadly Force by Dèpartmental guidelines.

            Alìcr a period or              time elapsed, and the struggle continued, responding Offcers rendered assistance, as previously documented.
     One of these Offcers was Offcer Avery, who removed two subjects who were assaulting me on my left side. These subjects fled
     into the protest crowd and remain unidentified. i was still being assailed from the right and rear, I then saw more Offcers arrive to
     assist and saw Offcer Skommesa place a subject on the ground to my left. After Offcer Skommesa detained this subject, later
     ídcntílcd as SIDunn. I ceased being assaulted from the rear and was able to escape with Srrompkins. The subjects assailing me
     from the right fled as more Otfcers came .into the area. These subjects also ran into the larger protest crowd and remain unidentified.

            I later conferred with Offcer Skommesa and he informed me that when he arrived at the scene of
                                                                                                             the incident, he witnessed
     S/Dunn assau It ing me from the rear and took appropriate action. Due to my position during the struggle, and ihe fact that I was
     fending otT various anacks from the front and both sidcs. i was unable 10 turn and face any attackers to the rear and. as a result,
     could nol visiially identify S/Dunn. Howcver. as I was being anacked from the rear and as these attacks ended after Offcer
     Skoinmesa detained SiDunn, l.believe ihai SiDunn was responsible for assaulting me from the rear and that he was clearly able to                                  0\
     plaçe his hands or arms in ihe area about my neck, in the aforementioned described manner. as well as possibly artempting to                                      ~
                                                                                                                                                                       ~
     remove my sidearm from its holsler End or Statement.                                                                                                              ~
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